 00001
Case
 Case2:18-cv-00365-DOC
      2:16-bk-13575-ER Document
                       Doc 25 Filed
                                17-104/01/16
                        Main Document
                                      Filed 04/20/18
                                                Entered
                                          Page 1 of 24
                                                      Page
                                                        04/01/16
                                                            1 of 24
                                                                         00001
                                                                  14:49:20
                                                                     Page IDDesc
                                                                             #:110



   1   DAVID B. GOLUBCHIK (State Bar No. 185520)
       JOHN-PATRICK M. FRITZ (State Bar No. 245240)
   2   JEFFREY S. KWONG (State Bar No. 288239)
   3   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
       10250 Constellation Boulevard, Suite 1700
   4   Los Angeles, California 90067
       Telephone: (310) 229-1234
   5   Facsimile: (310) 229-1244
       Email: DBG@LNBYB.COM; JPF@LNBYB.COM; JSK@LNBYB.COM
   6

   7
       Attorneys for Chapter 11 Debtor
   8   and Debtor in Possession

   9
                              UNITED STATES BANKRUPTCY COURT
  10
                               CENTRAL DISTRICT OF CALIFORNIA
  11
                                         LOS ANGELES DIVISION
  12
       In re:                                           )   Case No.: 2:16-bk-13575-TD
  13                                                    )
       LIBERTY ASSET MANAGEMENT                         )
  14
       CORPORATION,                                     )   Chapter 11 Case
  15                                                    )
                 Debtor and Debtor in Possession.       )   EMERGENCY      MOTION     FOR
  16                                                    )   TURNOVER OF PROPERTY OF THE
                                                        )   ESTATE AND BOOKS AND RECORD
  17                                                    )   RELATING TO PROPERTY OF THE
                                                        )   ESTATE; MEMORANDUM OF POINTS
  18
                                                        )   AND AUTHORITIES; DECLARATIONS
  19                                                    )   OF BENJAMIN KIRK AND DAVID B.
                                                        )   GOLUBCHIK IN SUPPORT THEREOF
  20                                                    )
                                                        )   Emergency Hearing
  21                                                    )   Date: To be set by Court
                                                        )   Time: To be set by Court
  22
                                                        )   Place: Courtroom 1345
  23                                                    )         255 East Temple Street
                                                        )         Los Angeles, CA 90012
  24                                                    )
                                                        )
  25                                                    )
  26                                                    )
                                                        )
  27                                                    )
                                                        )
  28


 00001                                              1                                00001
 00002
Case
 Case2:18-cv-00365-DOC
      2:16-bk-13575-ER Document
                       Doc 25 Filed
                                17-104/01/16
                        Main Document
                                      Filed 04/20/18
                                                Entered
                                          Page 2 of 24
                                                      Page
                                                        04/01/16
                                                            2 of 24
                                                                         00002
                                                                  14:49:20
                                                                     Page IDDesc
                                                                             #:111



   1                                              SUMMARY

   2          Pursuant to sections 105 and 542 of Title 11 of the United States Code, sections 101 et

   3   seq. (the “Bankruptcy Code”), Rule 4001(b) of the Federal Rules of Bankruptcy Procedure (the

   4   “Bankruptcy Rules”) and Rule 2081-1(a)(12) and 9075-1 of the Local Bankruptcy Rules for the

   5   Bankruptcy Court of the Central District of California (the “Local Rules”), Liberty Asset

   6   Management Corporation (the “Debtor”), the debtor and debtor in possession in the above-

   7   captioned chapter 11 bankruptcy case, hereby submits its self-styled Emergency Motion for

   8   Turnover of Property of the Estate, (the “Motion”) on an emergency basis.

   9          The Debtor is a real estate management company, solely owned by Benjamin Kirk. Since

  10   its inception, the Debtor’s mission was to seek out real estate opportunities, invest in such

  11   opportunities and manage them. Even prior to the creation of the Debtor, Mr. Kirk maintained a

  12   personal and professional relationship with Lucy Gao, including a child between them. In the

  13   ordinary course of business, the Debtor would identify real estate projects to acquire, the Debtor

  14   would fund the acquisition of such properties and a special-purpose entity would be formed to

  15   own and operate the properties. Ms. Gao was responsible for the creation of the entities and

  16   structured many of them with herself (Lucy Gao) as the sole member. Notwithstanding the

  17   foregoing, it was always understood that the properties, which were acquired with Debtor’s

  18   funds, were held for the benefit of the Debtor, and not a gift to Ms. Gao for her personal use.

  19          Approximately two (2) years ago, the personal relationship of these individuals came to

  20   an end. The Debtor, through Mr. Kirk, learned that Ms. Gao has been using her position as the

  21   sole member of certain of the special purpose entities, to sell the real estate holdings and divert

  22   funds to herself and to the exclusion of the Debtor and Debtor’s creditors. Since the Debtor has

  23   substantial creditors of its own, and funds were not being remitted to the Debtor to pay its

  24   obligations to creditors, such creditors commenced litigation against the Debtor. Based on the

  25   foregoing, the Debtor determined that the commencement of this bankruptcy case was necessary

  26   and proper to stay litigation and use the powers of the Court to preserve assets for the benefit of

  27

  28


 00002                                                  2                               00002
 00003
Case
 Case2:18-cv-00365-DOC
      2:16-bk-13575-ER Document
                       Doc 25 Filed
                                17-104/01/16
                        Main Document
                                      Filed 04/20/18
                                                Entered
                                          Page 3 of 24
                                                      Page
                                                        04/01/16
                                                            3 of 24
                                                                         00003
                                                                  14:49:20
                                                                     Page IDDesc
                                                                             #:112



   1   creditors. Upon commencement of this case, the Debtor has already initiated certain adversary

   2   proceedings for a determination as to the ownership of the various properties and entities.

   3          The Debtor has historically operated at the real property located at 3218 E. Holt Avenue,

   4   West Covina, CA 91791 (the “Holt Property”), which is owned by a related single-purpose entity

   5   where Ms. Gao is listed as the sole member. The Debtor’s books, records, computers, bank

   6   account statements, tax returns, financial records, Quick Books electronic data, purchase and sale

   7   agreements, investor funding agreements, files, data storage, servers, and practically all of its

   8   information (collectively, the “Books and Records”) are kept at the Holt Property. Ms. Gao and

   9   her cohorts are in physical possession of the Holt Property, and when Mr. Kirk attempted to

  10   retrieve the Books and Records, Ms. Gao caused the local police department to kick out Mr. Kirk

  11   without the Debtor’s books and records. Ms. Gao has refused to turn over the Books and

  12   Records despite repeated demands by the Debtor and Debtor’s counsel.

  13          Many of the records are in electronic format.         Ms. Gao has caused the Debtor’s

  14   representatives to be blocked from access to such electronic records, including, without

  15   limitation, terminating Mr. Kirk’s email access to the Debtor, which he has enjoyed for years.

  16   When the Debtor contacted the domain registrar to regain access, the “administrator” for the

  17   domain, who is working with Ms. Gao, terminated such access. The Debtor must be able to

  18   receive all administrative passwords and information for its own domain (www.libertycmc.com)

  19   so that the information can be accessed and protected.

  20          The Debtor needs the Books and Records to administer its bankruptcy estate, including to

  21   file required documents under 11 U.S.C. § 521 and submit proper reporting to the United States

  22   Trustee (“UST”). For instance, Ms. Gao’s refusal to turn over the Books and Records had made

  23   it extraordinarily difficult (impossible, so far) for the Debtor to submit proof of insurance on

  24   some properties to the UST, as well as tax returns. Moreover, without the Books and Records to

  25   show flow of funds (bank records), chain of title, ownership, and legal rights, the Debtor cannot

  26   proceed with the administration of its estate. In short, Ms. Gao’s refusal to turn over the Books

  27   and Records is causing tremendous problems for the Debtor and its estate.

  28


 00003                                                 3                               00003
 00004
Case
 Case2:18-cv-00365-DOC
      2:16-bk-13575-ER Document
                       Doc 25 Filed
                                17-104/01/16
                        Main Document
                                      Filed 04/20/18
                                                Entered
                                          Page 4 of 24
                                                      Page
                                                        04/01/16
                                                            4 of 24
                                                                         00004
                                                                  14:49:20
                                                                     Page IDDesc
                                                                             #:113



   1          The Debtor seeks an order of this Court for immediate turnover of the Debtor’s Books

   2   and Records, immediate turnover of information relating to the Debtor’s property and financial

   3   affairs, and sanctions if Ms. Gao and her cohorts do not comply forthwith.

   4         The relief requested in this Motion is based on this Motion, the memorandum of points

   5   and authorities annexed to the Motion, the declarations of Benjamin Kirk and David B.

   6   Golubchik annexed to the Motion, the arguments of counsel to be made at the hearing on the

   7   Motion, and such other pleadings and evidence that the Court may consider.

   8
       Dated: April 1, 2016                        LIBERTY ASSET MANAGEMENT CORP.
   9

  10                                               By:     /s/ David B. Golubchik
                                                           DAVID B. GOLUBCHIK
  11                                                       JOHN-PATRICK M. FRITZ
                                                           JEFFREY S. KWONG
  12                                                       LEVENE, NEALE, BENDER, YOO
                                                             & BRILL L.L.P.
  13

  14                                                       Attorneys for Plaintiff and
                                                           Chapter 11 Debtor and Debtor in Possession
  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28


 00004                                                4                             00004
 00005
Case
 Case2:18-cv-00365-DOC
      2:16-bk-13575-ER Document
                       Doc 25 Filed
                                17-104/01/16
                        Main Document
                                      Filed 04/20/18
                                                Entered
                                          Page 5 of 24
                                                      Page
                                                        04/01/16
                                                            5 of 24
                                                                         00005
                                                                  14:49:20
                                                                     Page IDDesc
                                                                             #:114



   1                       MEMORANDUM OF POINTS AND AUTHORITIES

   2                                      I. STATEMENT OF FACTS

   3   A.     Background

   4          1.      The Debtor commenced its chapter 11 bankruptcy case by filing a voluntary

   5   petition under chapter 11 of title 11, sections 101 et seq. of the United States Code, (the

   6   “Bankruptcy Code”) on March 21, 2016 (the “Petition Date”).

   7          2.      No committee of unsecured creditors has been formed, and no trustee has been

   8   appointed. The Debtor continues to operate its business and manage its financial affairs as a debtor

   9   in possession pursuant to 11 U.S.C. §§ 1107 and 1108.

  10          3.      The Debtor is a real estate management company with Benjamin Kirk as 100%

  11   member. Since its inception, the Debtor’s mission was to seek out real estate opportunities, invest

  12   in such opportunities and manage them.

  13          4.      Even prior to the creation of the Debtor Mr. Kirk maintained a personal and

  14   professional relationship with Lucy Gao, including a child between them. In the ordinary course of

  15   business, the Debtor would identify real estate projects to acquire, the Debtor would fund the

  16   acquisition of such properties and a special-purpose entity would be formed to own and operate the

  17   properties. Ms. Gao was responsible for the creation of the entities and structured many of them

  18   with herself (Lucy Gao) as the sole member. Notwithstanding the foregoing, it was always

  19   understood that the properties, which were acquired with Debtor’s funds, were held for the benefit

  20   of the Debtor and not as gifts for Ms. Gao.

  21          5.      Approximately two (2) years ago, the personal relationship of these individuals

  22   came to an end. The Debtor, through Mr. Kirk, learned that Ms. Gao has been using her position

  23   as the sole member of certain of the special purpose entities, to sell the real estate holdings and

  24   divert funds to herself and to the exclusion of the Debtor. Since the Debtor has substantial

  25   creditors of its own, and funds were not being remitted to the Debtor to pay its obligations to

  26   creditors, such creditors commenced litigation against the Debtor.

  27

  28


 00005                                                  5                               00005
 00006
Case
 Case2:18-cv-00365-DOC
      2:16-bk-13575-ER Document
                       Doc 25 Filed
                                17-104/01/16
                        Main Document
                                      Filed 04/20/18
                                                Entered
                                          Page 6 of 24
                                                      Page
                                                        04/01/16
                                                            6 of 24
                                                                         00006
                                                                  14:49:20
                                                                     Page IDDesc
                                                                             #:115



   1           6.      Based on the foregoing, the Debtor determined that the commencement of this

   2   bankruptcy case was necessary and proper to stay litigation and use the powers of the Court to

   3   preserve assets for the benefit of creditors. Upon commencement of this case, the Debtor has

   4   already initiated certain adversary proceedings for a determination as to the ownership of the

   5   various properties and entities.

   6           7.      The Debtor’s goal for this bankruptcy is to generate funds to pay its creditors.

   7   Based on the Debtor’s portfolio of assets, the Debtor believes that it will be able to pay all its

   8   creditors in full and this will be a surplus estate.

   9   B.      The Debtor’s Books and Records

  10           8.      The Debtor has historically operated at the real property located at 3218 E. Holt

  11   Avenue, West Covina, CA 91791 (the “Holt Property”), which is owned by a related single-

  12   purpose entity where Ms. Gao is listed as the sole member. The Debtor’s books, records,

  13   computers, bank account statements, tax returns, financial records, Quick Books electronic data,

  14   purchase and sale agreements, investor funding agreements, files, data storage, servers, and

  15   practically all of its information (collectively, the “Books and Records”) are kept at the Holt

  16   Property.    Ms. Gao and her cohorts are in physical possession of the Holt Property, and when

  17   Mr. Kirk attempted to retrieve the Books and Records, Ms. Gao caused the local police

  18   department to kick Mr. Kirk without the Debtor’s books and records. Ms. Gao has refused to

  19   turn over the Books and Records despite repeated demands by the Debtor and Debtor’s counsel.

  20           9.      Many of the records are in electronic format. Ms. Gao has caused the Debtor’s

  21   representatives to be blocked from access to such electronic records, including, without

  22   limitation, terminating Mr. Kirk’s email access to the Debtor, which he has enjoyed for years.

  23   When the Debtor contacted the domain registrar to regain access, the “administrator” for the

  24   domain, who is working with Ms. Gao, terminated such access. The Debtor must be able to

  25   receive all administrative passwords and information for its own domain (www.libertycmc.com)

  26   so that the information can be accessed and protected.

  27

  28


 00006                                                        6                       00006
 00007
Case
 Case2:18-cv-00365-DOC
      2:16-bk-13575-ER Document
                       Doc 25 Filed
                                17-104/01/16
                        Main Document
                                      Filed 04/20/18
                                                Entered
                                          Page 7 of 24
                                                      Page
                                                        04/01/16
                                                            7 of 24
                                                                         00007
                                                                  14:49:20
                                                                     Page IDDesc
                                                                             #:116



   1          10.     The Debtor needs the Books and Records to administer its bankruptcy estate,

   2   including to file required documents under 11 U.S.C. § 521 and submit proper reporting to the

   3   United States Trustee (“UST”). For instance, Ms. Gao’s refusal to turn over the Books and

   4   Records had made it extraordinarily difficult (impossible, so far) for the Debtor to submit proof

   5   of insurance on some properties to the UST, as well as tax returns. Moreover, without the Books

   6   and Records to show flow of funds (bank records), chain of title, ownership, and legal rights, the

   7   Debtor cannot proceed with the administration of its estate. In short, Ms. Gao’s refusal to turn

   8   over the Books and Records is causing tremendous problems for the Debtor and its estate.

   9          11.     The Debtor’s Books and Records at the Holt Property consists of, among other

  10   things, at least: (1) 40 computers; (2) 160 business records pertaining to the Debtor and its

  11   special purpose entities (including company documents, financial information, tax returns, bank

  12   statements, incoming and outgoing wire information); and (3) 1,325 files pertaining to real estate

  13   transactions involving the Debtor and its special purpose entities.

  14                         II. THE COURT SHOULD ORDER LUCY GAO TO

  15                 TURN OVER THE BOOKS AND RECORDS IMMEDIATELY

  16          Section 541 of the Bankruptcy Code defines property of the estate to include “all legal or

  17   equitable interest of the debtor in property as of the commencement of the case.” 11 U.S.C. §

  18   541(a)(1). A debtor’s books and records are property of the estate. In re Blinder, Robinson &

  19   Co., Inc., 140 B.R. 790, 794 (D.Colo.1992) (“Property of the estate includes books and records

  20   produced during a corporation’s existence.”); see also, In re Payroll Expense Corp., 2008 WL

  21   5396609 *1, *2 (Bankr. S.D.N.Y. Nov. 24, 2008) (including the “books and records” in the

  22   property of the estate); see also, In re Greenlife, Inc., 1990 WL 10091748 *1, *3

  23   (Bankr.E.D.Va.1990) (noting that automatic stay protects “property of the estate, including the

  24   debtor’s books and records”); see also, In re Coats, 53 B.R. 64, 65 (Bankr.N.D.Tex.1985)

  25   (noting that mail is property of the estate).        Social media accounts, email accounts, and

  26   administrative passwords of a business belong to the business and are property of the estate that

  27

  28


 00007                                                  7                             00007
 00008
Case
 Case2:18-cv-00365-DOC
      2:16-bk-13575-ER Document
                       Doc 25 Filed
                                17-104/01/16
                        Main Document
                                      Filed 04/20/18
                                                Entered
                                          Page 8 of 24
                                                      Page
                                                        04/01/16
                                                            8 of 24
                                                                         00008
                                                                  14:49:20
                                                                     Page IDDesc
                                                                             #:117



   1   must be turned over to the debtor in possession. In re CTLI, LLC, 528 B.R. 359, 378-79

   2   (Bankr.S.D.Tex.2015).

   3          Section 542 of the Bankruptcy Code requires that (with certain exceptions not applicable

   4   here) “any entity . . . in possession, custody, or control, during the case, of property that the

   5   trustee [or debtor in possession] may use, sell, or lease under section 363 of this title . . . shall

   6   deliver to the trustee, and account for, such property.” 11 U.S.C. §§ 542(a), 1107 & 1108.

   7   Congress intended the scope of section 541 and property of the estate to be quite broad, and even

   8   property that has been seized and repossessed by secured creditors is still property of the estate

   9   and subject to turnover. U.S. v. Whiting Pools, Inc., 674 F.2d 144, 150 (2d Cir.1982). The

  10   Debtor’s Books and Records are property of the estate and must be turned over. Indeed, even a

  11   custodian in possession of a debtor’s property and books and records must turn over to the debtor

  12   in possession “all properties including books and records in his possession which are properties

  13   of the estate.”     In re Property Management & Investments, Inc., 17 B.R. 728, 733

  14   (Bankr.M.D.Fla.1982).

  15          Were that not enough (which it certainly is), section 542(e) sets forth that the court may

  16   order any person “that holds recorded information, including books, documents, records, and

  17   papers, relating to the debtor’s property or financial affairs, to turn over or disclose such

  18   recorded information to the [debtor in possession].” 11 U.S.C. §§ 542(e) and 1107. Section

  19   542(e) is not limited to a debtor’s books and records but expand to records simply relating to the

  20   Debtor’s property or financial affairs. Thus, to the extent that Ms. Gao and her agents would

  21   bluff that the Books and Records are not actually the Debtor’s, the Court can (and should) order

  22   Ms. Gao to turn over the Books and Records so long as they merely relate to the Debtor’s

  23   property or financial affairs. Moreover, when dealing with closely held companies, the separate

  24   books and records of an affiliated company are material and relevant to the debtor’s financial

  25   affairs and property and should be surrendered to the debtor in possession as well. See, In re

  26   Thomas, 2003 WL 21981707 *1, *11 (Bankr.D. Idaho 2003) (holding in ruling in a similar

  27   situation on section 727(a)(3) that “where the facts indicate that a debtor exercised control over

  28


 00008                                                  8                                00008
 00009
Case
 Case2:18-cv-00365-DOC
      2:16-bk-13575-ER Document
                       Doc 25 Filed
                                17-104/01/16
                        Main Document
                                      Filed 04/20/18
                                                Entered
                                          Page 9 of 24
                                                      Page
                                                        04/01/16
                                                            9 of 24
                                                                         00009
                                                                  14:49:20
                                                                     Page IDDesc
                                                                             #:118



   1   and conducted business through a closely held corporation, § 727(a)(3) inquiries cannot be

   2   artificially limited to those records that are, strictly speaking, those of the debtors”). Here, Ms.

   3   Gao was trusted and tasked with investing and managing the Debtor’s investments through

   4   several LLCs such that the Debtor’s investments and businesses were conducted through those

   5   LLCs. Ms. Gao should not be permitted to hide the Debtor’s financial affairs and assets through

   6   these LLCs. Accordingly, the Court should order Ms. Gao and her agents to turn over all the

   7   Debtor’s Books and Records, including books and records of the LLCs relating to the Debtor’s

   8   property and financial affairs.

   9          The failure to turnover property of the estate, will subject uncooperative parties to

  10   sanctions for interference with the bankruptcy estate and violation of the automatic stay.

  11   Mwangi v. Wells Fargo Bank, N.A. (In re Mwangi), 432 B.R. 812, 825 (9th Cir.B.A.P.2010)

  12   (determining that Wells Fargo’s implementation of freeze on account and failure to transfer

  13   funds would be impermissible violation of the automatic stay and subject it to sanctions to be

  14   determined by bankruptcy court); In re Hernandez, 468 B.R. 396, 405 (Bankr.S.D.Cal.2012).

  15   Even where an account has been levied by a creditor and sheriff, upon the filing of a bankruptcy

  16   petition, the levy is to cease, and the account and funds therein are to be turned over to the debtor

  17   in possession as property of the estate. In re Hernandez, 468 B.R. at 405. The duty to turn over

  18   estate property is mandatory, and the onus to turnover is on the possessor. Id. (citing U.S. v.

  19   Whiting Pools, 462 U.S. 198, 211 (1983) and Cal. Employment Dev. Dep’t v. Taxel (In re Del

  20   Mission Ltd.), 98 F.3d 1147, 1151 (9th Cir.1996)).

  21          Here, Ms. Gao and her agents have possession of the Debtor’s Books and Record, but she

  22   has not given any justification for her willful refusal to turn them over to the Debtor. The Debtor

  23   can – and must – use the Books and Records to comply with its duties as a debtor in possession,

  24   report to the UST, account for its estate, protect its creditors, and locate and preserve its assets.

  25   The Books and Records have consequential value to the Debtor because they contain all of the

  26   information needed for the Debtor to administer, manager, and preserve its estate for the benefit

  27   of all creditors. Without the Books and Records, the Debtor will be irrevocably harmed because

  28


 00009                                                  9                                00009
 00010
Case
 Case2:18-cv-00365-DOC
       2:16-bk-13575-ER Document
                         Doc 25 Filed
                                 17-1 04/01/16
                         Main Document
                                       Filed 04/20/18
                                                 Entered
                                                       Page
                                           Page 10 of 24
                                                         04/01/16
                                                            10 of 24
                                                                         00010
                                                                  14:49:20
                                                                      Page IDDesc
                                                                              #:119



    1   it cannot trace, locate, and preserve its valuable assets.       The Court should issue an order

    2   instructing and directing Ms. Gao and her agents to turn over the Books and Records to the

    3   Debtor forthwith.

    4           The Debtor and its estate will suffer irreparable injury if the Court does not immediately

    5   order Ms. Gao to turn over the Books and Records to the Debtor because the Debtor will not be

    6   able to comply with its duties as a debtor in possession, including providing proof of insurance to

    7   the UST, and taking all necessary steps to ensure that Ms. Gao and her agents do not pilfer the

    8   estate assets. The Debtor needs the Books and Records to identify the location of its assets,

    9   contact third parties, such as banks, escrow companies, brokers, and title companies and inform

  10    them of the bankruptcy case, the automatic stay, and to halt any dissipation of assets.

  11            In the last two (2) years, Ms. Gao caused several LLC’s, which acquired properties

  12    through the Debtor’s funding, to sell the properties and take the proceeds resulting therefrom for

  13    her benefit and the exclusion of the Debtor and its creditors. Such diverted proceeds total over

  14    $25 million and relate to the sale of the following properties in which the Debtor had a beneficial

  15    interest:

  16                     166 Geary Street, San Francisco, CA 94108

  17                     1145-1147 Grand Avenue, San Diego

  18                     1595 17th Street, Santa Ana

  19    It would be detrimental to the estate if Ms. Gao was able to cause such additional dissipation of

  20    millions of dollars of assets by refusing to return the Books and Records and thereby prevent the

  21    Debtor from contacting third parties to stop such unlawful actions.

  22                The public interest favors the Debtor, as it is a fundamental principal of the Bankruptcy

  23    Code that entities turnover property of the estate and not attempt to exercise any unauthorized

  24    control over it. See, 11 U.S.C. §§ 362(a)(3) and 542(a). Accordingly, there is cause and grounds

  25    for entering immediate relief ordering Ms. Gao and her agents to turn over all of the Debtor’s

  26    Books and Records to the Debtor. Among other relevant information, the Debtor’s Books and

  27    Records include: (1) 40 computers; (2) 160 business records pertaining to the Debtor and its

  28


 00010                                                    10                               00010
 00011
Case
 Case2:18-cv-00365-DOC
       2:16-bk-13575-ER Document
                         Doc 25 Filed
                                 17-1 04/01/16
                         Main Document
                                       Filed 04/20/18
                                                 Entered
                                                       Page
                                           Page 11 of 24
                                                         04/01/16
                                                            11 of 24
                                                                         00011
                                                                  14:49:20
                                                                      Page IDDesc
                                                                              #:120



    1   special purpose entities (including company documents, financial information, tax returns, bank

    2   statements, incoming and outgoing wire information); and (3) 1,325 files pertaining to real

    3   estate transactions involving the Debtor and its special purpose entities

    4        III. GRANTING RELIEF BY WAY OF MOTION IS PROCEDURALLY PROPER

    5          This Motion is brought as a contested matter. A contested matter resembles an adversary

    6   proceeding in that two parties oppose each other with respect to relief sought by one of them, and

    7   the list of types of matters that qualify as contested matters is endless. 10 COLLIER          ON

    8   BANKRUPTCY ¶ 9014.01, at 9014-2 & 9014-3 (Alan N. Resnick & Henry J. Sommer eds., 16th

    9   ed.). A contempt proceeding is a contested matter. 10 COLLIER ON BANKRUPTCY ¶ 9014.01, at

  10    9014-3 (citing Barrientos v. Wells Fargo Bank, N.A., 663 F.3d 1186, 1189 (9th Cir.2011). Even

  11    where a contested matter is commenced by motion instead of a proper adversary proceeding, “so

  12    long as due process has bene afforded to the responding party, the courts will apply the harmless

  13    error rule and not force the parties to start all over again.” 10 COLLIER     ON   BANKRUPTCY ¶

  14    9014.01, at 9014-4; Korneff v. Downey Regional Medical Center (In re Downey Regional

  15    Medical Center), 441 B.R. 120, 128 (9th Cir.B.A.P.2010).

  16           Even where the use of an adversary proceeding rather than a motion is the normal

  17    practice, the Court should observe the importance of substance over form and grant the Motion

  18    on the merits because no parties are prejudiced by the use of a motion proceeding rather than an

  19    adversary proceeding. As the Supreme Court unanimously reasoned and held, even when an

  20    adversary proceeding is required, the real importance is actual notice and an opportunity to be

  21    heard. United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 272 (2010). “Due process

  22    requires notice ‘reasonably calculated, under all the circumstances, to apprise interested parties

  23    of the pendency of the action and afford them an opportunity to present their objections.’” Id.

  24    (citing and quoting Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)).

  25    Actual notice, and not the use of an adversary proceeding, regardless of the requirement to use

  26    one, “more than satisfied . . . due process rights.” Id.

  27

  28


 00011                                                    11                           00011
 00012
Case
 Case2:18-cv-00365-DOC
       2:16-bk-13575-ER Document
                         Doc 25 Filed
                                 17-1 04/01/16
                         Main Document
                                       Filed 04/20/18
                                                 Entered
                                                       Page
                                           Page 12 of 24
                                                         04/01/16
                                                            12 of 24
                                                                         00012
                                                                  14:49:20
                                                                      Page IDDesc
                                                                              #:121



    1            Here, the Debtor has given notice and service of the Motion to Ms. Gao, the United

    2   States Trustee, and all parties requesting special notice. The relief requested is contemplated for

    3   and sought directly against Ms. Gao, who has received actual notice. Had the Debtor proceeded

    4   by way of adversary proceeding, the same motion would have been filed, the same arguments

    5   made, and the same notice given to the same parties. Therefore, the Court should grant the

    6   Motion on the merits even if the relief is requested by way of Motion rather than adversary

    7   proceeding.

    8                                             IV. CONCLUSION

    9            Based upon all of the foregoing, the Debtor respectfully requests that the Court enter an

  10    order:

  11             1.     Granting this Motion in its entirety;

  12             2.     Finding the notice to be good and proper under the Bankruptcy Code, Federal

  13    Rules of Bankruptcy Procedure, and Local Bankruptcy Rules, as modified by the Court and

  14    appropriate under the circumstances;

  15             3.     Ordering and instructing Lucy Gao, her affiliates, agents, and employees to

  16    immediately turn over the Debtor’s Books and Records and information relating to the Debtor’s

  17    property and financial affairs to the Debtor; and

  18             4.     Granting such other and further relief as the Court deems just and proper under

  19    the circumstances.

  20
        Dated: April 1, 2016                           LIBERTY ASSET MANAGEMENT CORP.
  21

  22                                                   By:      /s/ David B. Golubchik
                                                                DAVID B. GOLUBCHIK
  23                                                            JOHN-PATRICK M. FRITZ
                                                                JEFFREY S. KWONG
  24                                                            LEVENE, NEALE, BENDER, YOO
                                                                  & BRILL L.L.P.
  25

  26                                                            Attorneys for Plaintiff and
                                                                Chapter 11 Debtor and Debtor in Possession
  27

  28


 00012                                                   12                              00012
 00013
Case
 Case2:18-cv-00365-DOC
       2:16-bk-13575-ER Document
                         Doc 25 Filed
                                 17-1 04/01/16
                         Main Document
                                       Filed 04/20/18
                                                 Entered
                                                       Page
                                           Page 13 of 24
                                                         04/01/16
                                                            13 of 24
                                                                         00013
                                                                  14:49:20
                                                                      Page IDDesc
                                                                              #:122



    1                               DECLARATION OF BENJAMIN KIRK
    2
               I, Benjamin Kirk, declare under penalty of perjury under the laws of the United States of
    3
        America that the following statements are true and based upon personal knowledge.
    4
               1.       I am over 18 years of age. I have personal knowledge of the facts set forth below
    5
        and, if called to testify, would and could competently testify thereto.
    6
               2.       I am the CEO and 100% equity holder of Liberty Asset Management Corporation,
    7
        the debtor and debtor in possession herein (“Debtor”).
    8
               3.       The Debtor commenced its chapter 11 bankruptcy case by filing a voluntary
    9
        petition under chapter 11 on March 21, 2016 (the “Petition Date”).
  10
               4.       The Debtor is a real estate management company.             Since its inception, the
  11
        Debtor’s mission was to seek out real estate opportunities, invest in such opportunities and
  12
        manage them.
  13
               5.       Even prior to the creation of the Debtor, I maintained a personal and professional
  14
        relationship with Lucy Gao, including a child between us. In the ordinary course of business,
  15
        through the Debtor, I would identify real estate projects to acquire, the Debtor would fund the
  16
        acquisition of such properties and a special-purpose entity would be formed to own and operate the
  17
        properties. Ms. Gao was responsible for the creation of the entities and structured many of them
  18
        with herself (Lucy Gao) as the sole member. Notwithstanding the foregoing, it was always
  19
        understood that the properties, which were acquired with Debtor’s funds, were held for the benefit
  20
        of the Debtor and not as gifts for Ms. Gao.
  21
               6.       Approximately two (2) years ago, our personal relationship came to an end. In the
  22
        same period of time, Ms. Gao caused several LLC’s, which acquired properties through the
  23
        Debtor’s funding, to sell the properties and take the proceeds resulting therefrom for her benefit
  24
        and the exclusion of the Debtor and its creditors. Such diverted proceeds total over $25 million
  25
        and relate to the sale of the following properties in which the Debtor had a beneficial interest:
  26
                       166 Geary Street, San Francisco, CA 94108
  27
                       1145-1147 Grand Avenue, San Diego
  28


 00013                                                    13                                00013
 00014
Case
 Case2:18-cv-00365-DOC
       2:16-bk-13575-ER Document
                         Doc 25 Filed
                                 17-1 04/01/16
                         Main Document
                                       Filed 04/20/18
                                                 Entered
                                                       Page
                                           Page 14 of 24
                                                         04/01/16
                                                            14 of 24
                                                                         00014
                                                                  14:49:20
                                                                      Page IDDesc
                                                                              #:123



    1                    1595 17th Street, Santa Ana

    2           7.        Since the Debtor has substantial creditors of its own, and funds were not being

    3   remitted to the Debtor to pay its obligations to creditors, such creditors commenced litigation

    4   against the Debtor.

    5           8.        Based on the foregoing, I determined that the commencement of this bankruptcy

    6   case was necessary and proper to stay litigation and use the powers of the Court to preserve assets

    7   for the benefit of creditors. Upon commencement of this case, the Debtor has already initiated

    8   certain adversary proceedings for a determination as to the ownership of the various properties and

    9   entities.

  10            9.        In addition, the Debtor is in the process of hiring a Chief Restructuring Officer to

  11    shepherd this case and to assist with reconciliation of the records and flow of funds so that the

  12    creditors of the Debtor are protected.

  13            10.       The Debtor’s goal for this bankruptcy is to generate funds to pay its creditors.

  14    Based on the Debtor’s portfolio of assets, I believe that it will be able to pay all its creditors in full

  15    and this will be a surplus estate.

  16    B.      The Debtor’s Books and Records

  17            11.       The Debtor has historically operated at the real property located at 3218 E. Holt

  18    Avenue, West Covina, CA 91791 (the “Holt Property”), which is owned by a related single-

  19    purpose entity where Ms. Gao is listed as the sole member. The Debtor’s books, records,

  20    computers, bank account statements, tax returns, financial records, Quick Books electronic data,

  21    purchase and sale agreements, investor funding agreements, files, data storage, servers, and

  22    practically all of its information (collectively, the “Books and Records”) are kept at the Holt

  23    Property. Ms. Gao and her cohorts are in physical possession of the Holt Property, and when I

  24    attempted to retrieve the Books and Records, Ms. Gao caused the local police department to kick

  25    me out without the Debtor’s books and records. Ms. Gao has refused to turn over the Books and

  26    Records despite repeated demands by me and Debtor’s counsel.

  27

  28


 00014                                                     14                                 00014
 00015
Case
 Case2:18-cv-00365-DOC
       2:16-bk-13575-ER Document
                         Doc 25 Filed
                                 17-1 04/01/16
                         Main Document
                                       Filed 04/20/18
                                                 Entered
                                                       Page
                                           Page 15 of 24
                                                         04/01/16
                                                            15 of 24
                                                                         00015
                                                                  14:49:20
                                                                      Page IDDesc
                                                                              #:124



    1          12.     Many of the records are in electronic format. Ms. Gao has caused the Debtor’s

    2   representatives to be blocked from access to such electronic records, including, without

    3   limitation, terminating my email access to the Debtor, which I have used for years. When the

    4   Debtor contacted the domain registrar to regain access, the “administrator” for the domain, who

    5   is working with Ms. Gao, terminated such access. The Debtor must be able to receive all

    6   administrative passwords and information for its own domain (www.libertycmc.com) so that the

    7   information can be accessed and protected.

    8          13.     The Debtor needs the Books and Records to administer its bankruptcy estate,

    9   including to file required documents and to submit proper reporting to the United States Trustee

  10    (“UST”). For instance, Ms. Gao’s refusal to turn over the Books and Records had made it

  11    extraordinarily difficult (impossible, so far) for the Debtor to submit proof of insurance on some

  12    properties to the UST, as well as tax returns. Moreover, without the Books and Records to show

  13    flow of funds (bank records), chain of title, ownership, and legal rights, the Debtor cannot

  14    proceed with the administration of its estate. In short, Ms. Gao’s refusal to turn over the Books

  15    and Records is causing tremendous problems for the Debtor and its estate.

  16           14.     Based on my last visit to the Holt Property and my personal recollection, the

  17    Debtor’s Books and Records at the Holt Property consists of, among other things, at least: (1) 40

  18    computers; (2) 160 business records pertaining to the Debtor and its special purpose entities

  19    (including company documents, financial information, tax returns, bank statements, incoming

  20    and outgoing wire information); and (3) 1,325 files pertaining to real estate transactions

  21    involving the Debtor and its special purpose entities.

  22

  23

  24

  25

  26

  27

  28


 00015                                                  15                             00015
 00016
Case
 Case2:18-cv-00365-DOC
       2:16-bk-13575-ER Document
                         Doc 25 Filed
                                 17-1 04/01/16
                         Main Document
                                       Filed 04/20/18
                                                 Entered
                                                       Page
                                           Page 16 of 24
                                                         04/01/16
                                                            16 of 24
                                                                         00016
                                                                  14:49:20
                                                                      Page IDDesc
                                                                              #:125



    1                          DECLARATION OF DAVID B. GOLUBCHIK
    2          I, DAVID B. GOLUBCHIK, HEREBY DECLARE AS FOLLOWS:

    3          1.     I have personal knowledge of the facts set forth below and, if called to testify,

    4   would and could competently testify thereto.

    5          2.     I am a partner with the law firm of Levene, Neale, Bender, Yoo & Brill L.L.P.

    6   (“LNBYB”), proposed general bankruptcy counsel to Liberty Asset Management Corporation,

    7   the debtor and debtor in possession herein (“Debtor”).

    8          3.     Based on my discussion with the Debtor and my familiarity with the parties, I

    9   am aware that Charles L. Kreindler of Sheppard Mullin used to represent Lucy Gao and

  10    Benjamin Kirk in the past in connection with litigation with third parties. The representation

  11    of Mr. Kirk came to an end and, I understand that, Mr. Kreindler continues to represent Ms.

  12    Gao in such capacity. Based on my discussion with Mr. Kreindler, he advised me that, at this

  13    time, he does not represent Ms. Gao in connection with the Debtor’s bankruptcy case and

  14    litigation commenced herein, but is facilitating communications. Based on the foregoing, on

  15    March 24, 2016, I sent an email to Ms. Kreindler formally informing him and Ms. Gao of the

  16    pendency of the case, the pending litigation and the requirement to preserve documents and

  17    records. Further, on March 28, 2016, I advised Mr. Kreindler and Ms. Gao that Mr. Kirk’s

  18    email access was terminated and the Debtor needs access to its books and records. A true and

  19    correct copy of the communication exchange is attached hereto as Exhibit “A”.

  20           4.     In addition, there is currently pending a Chapter 11 bankruptcy case of Crystal

  21    Waterfalls, LLC (“Crystal”) before the Honorable Ernest Robles (2:15-bk-27769-ER). Ian

  22    Landsberg is counsel to Crystal. Crystal is one such entity in which the Debtor asserts a

  23    beneficial interest and litigation has been commenced. Ms. Gao is directing Crystal’s case

  24    and providing instructions to Mr. Landsberg.

  25           5.     Based on the foregoing, on March 30, 2016, I sent another email to Mr.

  26    Kreindler and Mr. Landsberg demanding turnover of the Debtor’s books and records. A true

  27    and correct copy of my email is attached hereto as Exhibit “B”. I subsequently spoke with

  28


 00016                                                 16                               00016
 00017
Case
 Case2:18-cv-00365-DOC
       2:16-bk-13575-ER Document
                         Doc 25 Filed
                                 17-1 04/01/16
                         Main Document
                                       Filed 04/20/18
                                                 Entered
                                                       Page
                                           Page 17 of 24
                                                         04/01/16
                                                            17 of 24
                                                                         00017
                                                                  14:49:20
                                                                      Page IDDesc
                                                                              #:126



    1   Mr. Landsberg, who stated he is not counsel to Ms. Gao but attempting to facilitate the

    2   process, and offered to meet in person at the office premises to ensure that the turnover is

    3   proper and only includes records of the Debtor.

    4          6.     To date, I have not received any response or offer to cooperate. The Debtor

    5   must be able to complete its reporting to the US Trustee and the Court and the Debtor must be

    6   able to commence administration of its estate, which is impossible wihtout access to its own

    7   books and records.

    8          I declare and verify under penalty of perjury under the laws of the United States of

    9   America that the foregoing is true and correct to the best of my knowledge.

  10           Executed on this 31st day of March 2016 at Los Angeles, California.

  11
                                                               /s/ David B. Golubchik
  12                                                           DAVID B. GOLUBCHIK
  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28


 00017                                                    17                            00017
 00018
Case
 Case2:18-cv-00365-DOC
       2:16-bk-13575-ER Document
                         Doc 25 Filed
                                 17-1 04/01/16
                         Main Document
                                       Filed 04/20/18
                                                 Entered
                                                       Page
                                           Page 18 of 24
                                                         04/01/16
                                                            18 of 24
                                                                         00018
                                                                  14:49:20
                                                                      Page IDDesc
                                                                              #:127




                       EXHIBIT "A"




 00018                                                                  00018
        00019
       Case
        Case2:18-cv-00365-DOC
              2:16-bk-13575-ER Document
                                Doc 25 Filed
                                        17-1 04/01/16
                                Main Document
                                              Filed 04/20/18
                                                        Entered
                                                              Page
                                                  Page 19 of 24
                                                                04/01/16
                                                                   19 of 24
                                                                                00019
                                                                         14:49:20
                                                                             Page IDDesc
                                                                                     #:128


Lourdes

From:                                        David B. Golubchik
Sent:                                        Monday, March 28, 2016 1:27 PM
To:                                          'Charles Kreindler'
Cc:                                          Jeffrey S. Kwong; Anthony Moshirnia; Lucy Gao (lucy@huntingtongcc.com)
Subject:                                     RE: In re Liberty / Lucy Gao



Chuck,

A few things things:
    1. An amended complaint is being filed as to Los Altos.
    2. Shortly after I sent the document preservation email, Benny’s access to his emails was mysteriously lost. His
        emails contain the necessary documents for the bankruptcy. The email servers and domain names are all under
        Lucy’s control from the Holt address. It is imperative that his access be reinstated so that he can access Liberty
        data.
    3. We need access to Liberty’s financial records, including Quick Books, which are under Lucy’s control at the Holt
        address. We are happy to send out a computer person to copy the data so that there are no delays. Please
        advise how best to accomplish this.

Thank you


DAVID B. GOLUBCHIK, Esq.
LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
10250 Constellation Blvd. | Suite 1700 | Los Angeles, CA 90067
Phone 310 229 1234 | Direct 310 229 3393 | Fax 310 229 1244
dbg@lnbyb.com | www.lnbyb.com

The preceding E-mail message is subject to Levene, Neale, Bender, Yoo & Brill L.L.P.'s
email policies which can be found at http://www.lnbyb.com/disclaimers.htm.


þ Please consider the environment before printing this email

From: David B. Golubchik
Sent: Thursday, March 24, 2016 2:29 PM
To: 'Charles Kreindler'
Cc: Jeffrey S. Kwong; Anthony Moshirnia; Lucy Gao (lucy@huntingtongcc.com)
Subject: RE: In re Liberty / Lucy Gao

Thanks Chuck. Will review. As I advised you, I have a redeye to Chicago tonight and will return Sunday night. I will
review, discuss with client, and, either take appropriate action to remedy this issue or otherwise respond to you by the
end of the day on Monday.


DAVID B. GOLUBCHIK, Esq.
LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
10250 Constellation Blvd. | Suite 1700 | Los Angeles, CA 90067
Phone 310 229 1234 | Direct 310 229 3393 | Fax 310 229 1244
dbg@lnbyb.com | www.lnbyb.com


                                                                              1

          00019                                                                                             00019
          00020
       Case
          Case  2:18-cv-00365-DOC
                   2:16-bk-13575-ER Document        Doc 25 Filed
                                                    Main
                                                                   17-1 04/01/16
                                                             Document
                                                                              Filed 04/20/18
                                                                                    Page
                                                                                         Entered
                                                                                         20 of
                                                                                                Page
                                                                                               24
                                                                                                  04/01/16
                                                                                                     20 of 24
                                                                                                                  00020
                                                                                                           14:49:20
                                                                                                               Page IDDesc
                                                                                                                       #:129
The preceding E-mail message is subject to Levene, Neale, Bender, Yoo & Brill L.L.P.'s
email policies which can be found at http://www.lnbyb.com/disclaimers.htm.


þ Please consider the environment before printing this email

From: Charles Kreindler [ mailto:CKreindler@sheppardmullin.com ]
Sent: Thursday, March 24, 2016 2:27 PM
To: David B. Golubchik
Cc: Jeffrey S. Kwong; Anthony Moshirnia; Lucy Gao ( lucy@huntingtongcc.com)
Subject: RE: In re Liberty / Lucy Gao

David,

I will pass on your request to Lucy, although as we discussed I have not been specifically retained to represent her with
respect to the LAMC bankruptcy. Also as discussed, please find attached the notarized grant deed for the Los Altos
property signed by Washe’s managing member, Tsai Luan (“Shelby”) Ho. Also attached is the Washe Statement of
Information. Based on these two documents, you are requested to dismiss the Los Altos action immediately. Please let
me know by this coming Monday what your intentions are with respect to this complaint. Thanks.

Chuck

Charles L. Kreindler
213.617.4118 | direct
213.443.2824 | direct fax
CKreindler@sheppardmullin.com | Bio


SheppardMullin
Sheppard Mullin Richter & Hampton LLP
333 South Hope Street, 43rd Floor
Los Angeles, CA 90071-1422
213.620.1780 | main
www.sheppardmullin.com



From: David B. Golubchik [mailto:DBG@lnbyb.com]
Sent: Thursday, March 24, 2016 1:15 PM
To: Charles Kreindler
Cc: Jeffrey S. Kwong
Subject: In re Liberty / Lucy Gao

Chuck,

I left you a message a little bit ago in response to your call. Feel free to call me anytime to discuss the
matters. Considering how many different things are at play, it may make sense to meet in person and discuss.

In addition, as you know, Lucy Gao is in possession of the majority, if not all, of the relevant documents to the
matters at issue. I want to make sure that you advice Lucy to preserve all documents pending conclusion of the
litigation and not to destroy or remove anything. Such records include, without limitation, all electronically stored
information, copies and backup, as defined by Rule 34 of the Federal Rules of Civil Procedure, along with any paper
files which Lucy Gao or any of her entities maintain, relevant to these disputes. Liberty will be seeking in discovery
electronic data in Lucy Gao’s or any of her entities’ custody and control that is relevant to these actions, including
without limitation emails and other information contained on computer systems and any electronic storage
systems. Liberty considers this electronic data and paper files to be valuable and irreplaceable sources of
discoverable information in these matters.


                                                                             2

          00020                                                                                              00020
        00021
       Case
        Case2:18-cv-00365-DOC
              2:16-bk-13575-ER Document
                                Doc 25 Filed
                                        17-1 04/01/16
                                Main Document
                                              Filed 04/20/18
                                                        Entered
                                                              Page
                                                  Page 21 of 24
                                                                04/01/16
                                                                   21 of 24
                                                                                00021
                                                                         14:49:20
                                                                             Page IDDesc
                                                                                     #:130
In addition, Liberty places Lucy Gao on notice not to allow the deletion of any electronic communications, such as
emails, relating to Liberty, assets acquired with funds or other property originating from Liberty or any
agreements thereto. We are confident that Lucy Gao already has taken steps to preserve this data since she had an
obligation to preserve relevant evidence. Thus, no procedures should have been implemented to alter any active,
deleted or fragmented data.

We further trust that Lucy Gao will continue to preserve such electronic data and paper files throughout these
proceedings.

Thank you

DAVID B. GOLUBCHIK, Esq.
LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
10250 Constellation Blvd. | Suite 1700 | Los Angeles, CA 90067
Phone 310 229 1234 | Direct 310 229 3393 | Fax 310 229 1244
dbg@lnbyb.com | www.lnbyb.com

The preceding E-mail message is subject to Levene, Neale, Bender, Yoo & Brill L.L.P.'s
email policies which can be found at http://www.lnbyb.com/disclaimers.htm.


þ Please consider the environment before printing this email

Attention: This message is sent by a law firm and may contain information that is privileged or confidential. If
you received this transmission in error, please notify the sender by reply e-mail and delete the message and any
attachments.




                                                                              3

          00021                                                                                  00021
 00022
Case
 Case2:18-cv-00365-DOC
       2:16-bk-13575-ER Document
                         Doc 25 Filed
                                 17-1 04/01/16
                         Main Document
                                       Filed 04/20/18
                                                 Entered
                                                       Page
                                           Page 22 of 24
                                                         04/01/16
                                                            22 of 24
                                                                         00022
                                                                  14:49:20
                                                                      Page IDDesc
                                                                              #:131




                       EXHIBIT "B"




 00022                                                                  00022
        00023
       Case
        Case2:18-cv-00365-DOC
              2:16-bk-13575-ER Document
                                Doc 25 Filed
                                        17-1 04/01/16
                                Main Document
                                              Filed 04/20/18
                                                        Entered
                                                              Page
                                                  Page 23 of 24
                                                                04/01/16
                                                                   23 of 24
                                                                                00023
                                                                         14:49:20
                                                                             Page IDDesc
                                                                                     #:132


Lourdes

From:                                        David B. Golubchik
Sent:                                        Wednesday, March 30, 2016 9:05 AM
To:                                          Ian S. Landsberg (ilandsberg@landsberg-law.com); CKreindler@sheppardmullin.com
Cc:                                          John-Patrick M. Fritz
Subject:                                     Liberty and turnover of property



Ian and Chuck,

I need to get Liberty’s books and records and computers so that we can comply with US Trustee and Court
requirements. They are not needed for, and are not being use for, Crystal Waterfalls, which is Ian’s client. Lucy refuses
to give them to Benny. I have to file a motion for turnover of property of the estate. I wanted to reach out to you to see
if you can do anything to assist to avoid the Court.

I understand that Chuck is not officially representing Lucy in her disputes with Liberty which, I assume, is based on past
representations of Lucy/Benny and the conflict that exists, but Chuck has been involved in conveying messages. I also
understand that Ian is not representing Lucy but Ian did advise me that Lucy transferred the Crystal Properties hotel
operations from the hotel, where they have always been, to the Holt property. As a result, I am reaching out to both of
you before taking formal action since my preference is always to avoid the time, expense and headaches of litigation.

Let me know.

Thank you

DAVID B. GOLUBCHIK, Esq.
LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
10250 Constellation Blvd. | Suite 1700 | Los Angeles, CA 90067
Phone 310 229 1234 | Direct 310 229 3393 | Fax 310 229 1244
dbg@lnbyb.com | www.lnbyb.com

The preceding E-mail message is subject to Levene, Neale, Bender, Yoo & Brill L.L.P.'s
email policies which can be found at http://www.lnbyb.com/disclaimers.htm.


þ Please consider the environment before printing this email




                                                                              1

          00023                                                                                            00023
 00024
Case
 Case2:18-cv-00365-DOC
       2:16-bk-13575-ER Document
                         Doc 25 Filed
                                 17-1 04/01/16
                         Main Document
                                       Filed 04/20/18
                                                 Entered
                                                       Page
                                           Page 24 of 24
                                                         04/01/16
                                                            24 of 24
                                                                         00024
                                                                  14:49:20
                                                                      Page IDDesc
                                                                              #:133


   1
                                     PROOF OF SERVICE OF DOCUMENT
   2
       I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
       address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067
   3
       A true and correct copy of the foregoing document entitled: EMERGENCY MOTION FOR TURNOVER
   4   OF PROPERTY OF THE ESTATE AND BOOKS AND RECORD RELATING TO PROPERTY OF THE
       ESTATE; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATIONS OF BENJAMIN KIRK
   5   AND DAVID B. GOLUBCHIK IN SUPPORT THEREOF will be served or was served (a) on the judge in
       chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
   6
       1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
   7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
       hyperlink to the document. On April 1, 2016, I checked the CM/ECF docket for this bankruptcy case or
   8   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
       receive NEF transmission at the email addresses stated below:
   9
                David B Golubchik dbg@lnbyb.com, dbg@ecf.inforuptcy.com
  10            David S Henshaw david@henshawlaw.com, info@henshawlaw.com
                Jeffrey S Kwong jsk@lnbyb.com, jsk@ecf.inforuptcy.com
  11            Queenie K Ng queenie.k.ng@usdoj.gov
                Mark Romeo romeolaw@msn.com
  12            United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
  13   2. SERVED BY UNITED STATES MAIL: On April 1, 2016, I served the following persons and/or
       entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
  14   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
       addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
  15   completed no later than 24 hours after the document is filed.

  16                                                                           Service information continued on attached page

  17   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
       EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
  18   on April 1, 2016, I served the following persons and/or entities by personal delivery, overnight mail
       service, or (for those who consented in writing to such service method), by facsimile transmission and/or
  19   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
       mail to, the judge will be completed no later than 24 hours after the document is filed.
  20
       Served via Attorney Service                                        Served By Overnight Mail
  21   Hon. Thomas B. Donovan                                             Lucy Gao
       United States Bankruptcy Court                                     3218 E Holt Avenue
  22   Edward R. Roybal Federal Building                                  West Covina, CA 91791
       255 E. Temple Street, Ctrm 1345
  23   Los Angeles, CA 90012

  24
       I declare under penalty of perjury under the laws of the United States of America that the foregoing is
  25   true and correct.

  26    April 1, 2016                     Lourdes Cruz                                    /s/ Lourdes Cruz
        Date                              Type Name                                       Signature
  27
  28

        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                                    F 9013-3.1.PROOF.SERVICE
 00024                                                                                                               00024
       June 2012
